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 6

 7
                                      IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         )   CASE NO. 2:12-cr-0376-TLN
11
                                                       )
                              Plaintiff,               )
12
                                                       )   STIPULATION AND ORDER
            v.                                         )   TO CONTINUE STATUS CONFERENCE AND
13
                                                       )   EXCLUDE TIME
     JORGE MEDINA VASQUEZ,                             )
14
     ROBERTO JOSE VASQUEZ, and                         )
     DIEGO FERNANDO LIMON RODRIGUEZ,                   )
15
     Aka, Jonan Oscar Gonzalez                         )
     Martinez, aka, Cholo,                             )
16
                                                       )
                              Defendants.              )
17
                                                       )
18
                                               STIPULATION
19   Plaintiff United States of America, by and through its counsel of record, and the defendant, by and
20
     through his counsel of record, hereby stipulate as follows:
21
     1. By previous order, this matter was set for status on April 8, 2013.
22
     2. On April 5, 2013, Pursuant to the Order of Reassignment, the matter was continued for status to
23
         May 9, 2013.
24

25   3. By this stipulation, the defendants now moves to continue the status conference until May 16,

26       2013, and to exclude time between April 8, 2013, to May 16, 2013, under Local Code T4.
27       Plaintiff does not oppose this request.
28
     4. The parties agree and stipulate, and request that the Court find the following:
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 1         a. The government has represented that the discovery associated with this case includes
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              several discs containing audio recordings, and related documents in electronic form. All
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              of this discovery has been either produced directly to counsel and/or made available for
 4
              inspection and copying.
 5

 6         b. b. Counsel for the defendant desires additional time to consult with his client, to review

 7            the current charges, to conduct investigation and research related to the charges, to

 8            review and copy discovery for this matter, to discuss potential resolutions with his client,
 9
              to prepare pretrial motions, and to otherwise prepare for trial.
10
           c. Counsel for the defendant believes that failure to grant the above-requested continuance
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              would deny him the reasonable time necessary for effective preparation, taking into
12

13
              account the exercise of due diligence.

14         d. The government does not object to the continuance.

15         e. Based on the above-stated findings, the ends of justice served by continuing the case as
16
              requested outweigh the interest of the public and the defendants in a trial within the
17
              original date prescribed by the Speedy Trial Act.
18
           f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
19

20
              within which trial must commence, the time period of April 8, 2013, to May 16, 2013,

21            inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

22            T4] because it results from a continuance granted by the Court at defendant’s request on
23
              the basis of the Court's finding that the ends of justice served by taking such action
24
              outweigh the best interest of the public and the defendant in a speedy trial.
25
     ///
26
     ///
27

28   ///
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 1   ///
 2
     5. Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy
 3
           Trial Act dictate that additional time periods are excludable from the period within which a trial
 4
           must commence.
 5

 6   IT IS SO STIPULATED.

 7   Dated: May 7, 2013                                                BENJAMIN WAGNER
                                                                       U.S. ATTORNEY
 8
                                                               by:     /s/ Jill Thomas (5/7/13)
 9
                                                                       JILL THOMAS
10                                                                     Assistant U.S. Attorney
                                                                       Attorney for Plaintiff
11
     Dated: May 7, 2013                                        by:     /s/ Russell S. Humphrey (5/7/13)
12
                                                                       RUSSEL S. HUMPHREY
13
                                                                       Attorney for Jorge Medina Vasquez

14   Dated: May 7, 2013                                        by:     /s/ Tim F. Tuitavuki (5/7/13)
                                                                       TIM F. TUITAVUKI
15                                                                     Attorney for Roberto Vasquez
16
     Dated: May 7, 2013                                        by:     /s/ Arturo Hernandez (5/7/13)
17                                                                     ARTURO HERNANDEZ
                                                                       Attorney for Diego Fernando Limon
18                                                                     Rodriguez
19

20
                                                     ORDER
21

22   IT IS SO FOUND AND ORDERED this 8th day of May, 2013.
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27                                                       Troy L. Nunley
                                                         United States District Judge
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